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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          PANAMA CITY DIVISION

RESTORE ROBOTICS, LLC,
and RESTORE ROBOTICS
REPAIRS, LLC,

        Plaintiffs,

v.                                                    Case No. 5:19cv55-TKW-MJF

INTUITIVE SURGICAL, INC.,

     Defendant.
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                                        ORDER

     Upon due consideration of the parties’ joint status report (Doc. 54), it is

     ORDERED that:


     1. The telephonic case management conference scheduled for May 14, 2020, is

        cancelled.

     2. The scheduling and mediation order (Doc. 48) is modified as follows:

           a. The discovery deadlines are extended to January 28, 2021 (fact) and

               June 17, 2021 (expert), as proposed by the parties.

           b. The deadlines proposed by the parties in the status report (Doc. 54, at

               6) for initial and rebuttal expert reports are adopted by the Court. The

               parties may agree to extend these deadlines without Court approval so
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         long as the extension does not affect the deadlines for completing

         discovery or filing dispositive motions. See N.D. Fla. Loc. R. 6.1.

      c. The deadlines tied to the expert report and discovery deadlines are

         likewise extended.

3. Within 14 days from the date of this Order, the parties shall confer and advise

   the Court of several mutually agreeable dates during the weeks of August 10-

   14 and 17-21, 2020, for a telephonic case management conference.


   DONE and ORDERED this 5th day of May, 2020.

                              T. Kent Wetherell, II
                              T. KENT WETHERELL, II
                              UNITED STATES DISTRICT JUDGE




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